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11                     UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA
12
13   KRISTYNA SOUDERS, individually)               Case No.
14   and on behalf of all others similarly
                                   )
     situated,                     )               CLASS ACTION
15                                 )
16   Plaintiff,                    )               COMPLAINT FOR VIOLATIONS
                                   )               OF:
17
            vs.                    )
18                                 )                  1.      NEGLIGENT VIOLATIONS
                                                              OF THE TELEPHONE
19   CLEARONE ADVANTAGE, LLC; and)                            CONSUMER PROTECTION
     DOES 1 through 10, inclusive, )                          ACT [47 U.S.C. §227(b)]
20                                 )
21   Defendant.                    )
                                   )               DEMAND FOR JURY TRIAL
22
                                   )
23                                 )
24
                                   )

25
           Plaintiff KRISTYNA SOUDERS (“Plaintiff”), individually and on behalf of
26
     all others similarly situated, alleges the following upon information and belief
27
     based upon personal knowledge:
28



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 1                              NATURE OF THE CASE
 2           1.   Plaintiff brings this action individually and on behalf of all others
 3   similarly situated seeking damages and any other available legal or equitable
 4   remedies resulting from the illegal actions of Defendant, CLEARONE
 5   ADVANTAGE, LLC (“Defendant”), in negligently contacting Plaintiff on
 6   Plaintiff’s cellular telephone in violation of the Telephone Consumer Protection
 7   Act, 47. U.S.C. § 227 et seq. (“TCPA”), thereby causing Plaintiff to incur unwanted
 8   and unnecessary charges and invading Plaintiff’s privacy.
 9                             JURISDICTION & VENUE
10           2.   Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
11   a resident of California, seeks relief on behalf of a Class, which will result in at
12   least one class member belonging to a different state than that of Defendant, a
13   Maryland company. Plaintiff also seeks $500.00 in damages for each call in
14   violation of the TCPA, which, when aggregated among a proposed class in the
15   thousands, exceeds the $5,000,000.00 threshold for federal court jurisdiction.
16   Therefore, both diversity jurisdiction and the damages threshold under the Class
17   Action Fairness Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.
18           3.   Venue is proper in the United States District Court for the Central
19   District of California pursuant to 28 U.S.C. § 1391(b)(2) because Defendant does
20   business within the State of California and Plaintiff resides within the County of
21   Los Angeles.
22                                       PARTIES
23           4.   Plaintiff, KRISTYNA SOUDERS (“Plaintiff”), is a natural person
24   residing in Palmdale, California and is a “person” as defined by 47 U.S.C. § 153
25   (39).
26           5.   Defendant, CLEARONE ADVANTAGE, LLC (“Defendant”), is a
27   debt settlement company, and is a “person” as defined by 47 U.S.C. § 153 (39).
28           6.   The above named Defendant, and its subsidiaries and agents, are


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 1   collectively referred to as “Defendants.” The true names and capacities of the
 2   Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
 3   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 4   names. Each of the Defendants designated herein as a DOE is legally responsible
 5   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
 6   Complaint to reflect the true names and capacities of the DOE Defendants when
 7   such identities become known.
 8         7.     Plaintiff is informed and believes that at all relevant times, each and
 9   every Defendant was acting as an agent and/or employee of each of the other
10   Defendants and was acting within the course and scope of said agency and/or
11   employment with the full knowledge and consent of each of the other Defendants.
12   Plaintiff is informed and believes that each of the acts and/or omissions complained
13   of herein was made known to, and ratified by, each of the other Defendants.
14                              FACTUAL ALLEGATIONS
15         8.     Beginning in or around March of 2018, Defendant contacted Plaintiff
16   on Plaintiff’s cellular telephone numbers ending in -4086 in an attempt to solicit
17   Plaintiff to purchase Defendants’ services.
18         9.     Defendants contacted or attempted to contact Plaintiff from telephone
19   numbers belonging to Defendants, including without limitation (443) 692-5455.
20         10.    Defendants used an “automatic telephone dialing system” as defined
21   by 47 U.S.C. § 227(a)(1) to place its calls to Plaintiff seeking to solicit its services.
22         11.    Furthermore, at one or more instance during these calls, Defendant
23   utilized an “artificial or prerecorded voice” as prohibited by 47 U.S.C. §
24   227(b)(1)(A).
25         12.    Defendant’s calls constituted calls that were not for emergency
26   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
27         13.    Defendant’s calls were placed to telephone number assigned to a
28   cellular telephone service for which Plaintiff incurs a charge for incoming calls


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 1   pursuant to 47 U.S.C. § 227(b)(1).
 2         14.    Plaintiff is not a customer of Defendant’s services and has never
 3   provided any personal information, including her telephone number, to Defendant
 4   for any purpose whatsoever.
 5         15.    During all relevant times, Defendant did not possess Plaintiff’s “prior
 6   express consent” to receive calls using an automatic telephone dialing system or an
 7   artificial or prerecorded voice on its cellular telephones pursuant to 47 U.S.C. §
 8   227(b)(1)(A).
 9         16.    Defendant placed multiple calls soliciting its business to Plaintiff on
10   its cellular telephones beginning in or around March of 2018.
11         17.    Such calls constitute solicitation calls pursuant to 47 C.F.R. §
12   64.1200(c)(2) as they were attempts to promote or sell Defendant’s services.
13         18.    Plaintiff received numerous solicitation calls from Defendant within a
14   12-month period.
15         19.    Upon information and belief, and based on Plaintiff’s experiences of
16   being called by Defendant, and at all relevant times, Defendant failed to establish
17   and implement reasonable practices and procedures to effectively prevent
18   telephone solicitations in violation of the regulations prescribed under 47 U.S.C. §
19   227(c)(5).
20
21                                  CLASS ALLEGATIONS
22         20.    Plaintiff brings this action individually and on behalf of all others
23   similarly situated, as a member the proposed class (hereafter “The Class”). The
24   Class is defined as follows:
25
                  All persons within the United States who received any
26                solicitation/telemarketing   telephone   calls   from
27                Defendant to said person’s cellular telephone made
                  through the use of any automatic telephone dialing
28
                  system or an artificial or prerecorded voice and such


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 1                person had not previously consented to receiving such
                  calls within the four years prior to the filing of this
 2                Complaint
 3
 4         21.    Plaintiff represents, and is a member of, The Class, consisting of all
 5   persons within the United States who received any solicitation telephone calls from
 6   Defendant to said person’s cellular telephone made through the use of any
 7   automatic telephone dialing system or an artificial or prerecorded voice and such
 8   person had not previously not provided their cellular telephone number to
 9   Defendant within the four years prior to the filing of this Complaint.
10         22.    Defendant, their employees and agents are excluded from The Class.
11   Plaintiff does not know the number of members in The Class, but believes the Class
12   members number in the thousands, if not more. Thus, this matter should be
13   certified as a Class Action to assist in the expeditious litigation of the matter.
14         23.    The Class is so numerous that the individual joinder of all of its
15   members is impractical. While the exact number and identities of The Class
16   members are unknown to Plaintiff at this time and can only be ascertained through
17   appropriate discovery, Plaintiff is informed and believes and thereon alleges that
18   The Class includes thousands of members.            Plaintiff alleges that The Class
19   members may be ascertained by the records maintained by Defendant.
20         24.    Plaintiff and members of The Class were harmed by the acts of
21   Defendant in at least the following ways: Defendant illegally contacted Plaintiff
22   and Class members via their cellular telephones thereby causing Plaintiff and Class
23   members to incur certain charges or reduced telephone time for which Plaintiff and
24   Class members had previously paid by having to retrieve or administer messages
25   left by Defendant during those illegal calls, and invading the privacy of said
26   Plaintiff and Class members.
27         25.    Common questions of fact and law exist as to all members of The
28   Class which predominate over any questions affecting only individual members of


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 1   The Class. These common legal and factual questions, which do not vary between
 2   Class members, and which may be determined without reference to the individual
 3   circumstances of any Class members, include, but are not limited to, the following:
 4                a.    Whether, within the four years prior to the filing of this
 5                      Complaint, Defendant made any telemarketing/solicitation call
 6                      (other than a call made for emergency purposes or made with
 7                      the prior express consent of the called party) to a Class member
 8                      using any automatic telephone dialing system or any artificial
 9                      or prerecorded voice to any telephone number assigned to a
10                      cellular telephone service;
11                b.    Whether Plaintiff and The Class members were damaged
12                      thereby, and the extent of damages for such violation; and
13                c.    Whether Defendant and their agents should be enjoined from
14                      engaging in such conduct in the future.
15         26.    As a person that received numerous telemarketing/solicitation calls
16   from Defendant using an automatic telephone dialing system or an artificial or
17   prerecorded voice, without Plaintiff’s prior express consent, Plaintiff is asserting
18   claims that are typical of The Class.
19         27.    Plaintiff will fairly and adequately protect the interests of the members
20   of The Class. Plaintiff has retained attorneys experienced in the prosecution of
21   class actions.
22         28.    A class action is superior to other available methods of fair and
23   efficient adjudication of this controversy, since individual litigation of the claims
24   of all Class members is impracticable. Even if every Class member could afford
25   individual litigation, the court system could not. It would be unduly burdensome
26   to the courts in which individual litigation of numerous issues would proceed.
27   Individualized litigation would also present the potential for varying, inconsistent,
28   or contradictory judgments and would magnify the delay and expense to all parties


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 1   and to the court system resulting from multiple trials of the same complex factual
 2   issues. By contrast, the conduct of this action as a class action presents fewer
 3   management difficulties, conserves the resources of the parties and of the court
 4   system, and protects the rights of each Class member.
 5         29.    The prosecution of separate actions by individual Class members
 6   would create a risk of adjudications with respect to them that would, as a practical
 7   matter, be dispositive of the interests of the other Class members not parties to such
 8   adjudications or that would substantially impair or impede the ability of such non-
 9   party Class members to protect their interests.
10         30.    Defendant have acted or refused to act in respects generally applicable
11   to The Class, thereby making appropriate final and injunctive relief with regard to
12   the members of the Class as a whole.
13                             FIRST CAUSE OF ACTION
14          Negligent Violations of the Telephone Consumer Protection Act
15                                   47 U.S.C. §227(b).
16                                 On Behalf of The Class
17         31.    Plaintiff repeats and incorporates by reference into this cause of action
18   the allegations set forth above at Paragraphs 1-30.
19         32.    The foregoing acts and omissions of Defendant constitute numerous
20   and multiple negligent violations of the TCPA, including but not limited to each
21   and every one of the above cited provisions of 47 U.S.C. § 227(b), and in particular
22   47 U.S.C. § 227 (b)(1)(A).
23         33.    As a result of Defendant’ negligent violations of 47 U.S.C. § 227(b),
24   Plaintiff and The Class Members are entitled an award of $500.00 in statutory
25   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
26         34.    Plaintiff and The Class members are also entitled to and seek
27   injunctive relief prohibiting such conduct in the future.
28                                PRAYER FOR RELIEF


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 1   WHEREFORE, Plaintiff requests judgment against Defendant for the following:
 2                             FIRST CAUSE OF ACTION
 3          Negligent Violations of the Telephone Consumer Protection Act
 4                                    47 U.S.C. §227(b)
 5               • As a result of Defendant’ negligent violations of 47 U.S.C.
 6                §227(b)(1), Plaintiff and the ATDS Class and ATDS Revocation
 7                Class members are entitled to and request $500 in statutory damages,
 8                for each and every violation, pursuant to 47 U.S.C. 227(b)(3)(B).
 9               • An order for injunctive relief prohibiting such conduct by Defendants
10                in the future.
11               • Any and all other relief that the Court deems just and proper.
12                                    JURY DEMAND
13         35.    Pursuant to the Seventh Amendment to the Constitution of the United
14   States of America, Plaintiff is entitled to, and demands, a trial by jury.
15
           Respectfully Submitted this 3rd Day of August, 2018.
16
                                LAW OFFICES OF TODD M. FRIEDMAN, P.C.
17
18                                     By: /s/ Todd M. Friedman
                                           Todd M. Friedman
19
                                           Law Offices of Todd M. Friedman
20                                         Attorney for Plaintiff
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